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IN THE UNITED sTATEs DIsTRIcT coURT -~ D.¢_
ron THE wEsTERN DISTRICT or TENNESSEE OSA
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JAMES MORRIS,
Plaintiff,
VS. NO. O3~2929-Ml/P

MARK LUTTRELL, et al.,

Defendants.

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ORDER DENYING MOTION FOR RECONSIDERATION
AND
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff James Morris, a resident of Memphis, who was
formerly incarcerated as an inmate at the Shelby County Criminal
Justice Center (Jail), filed a complaint pursuant to 42 U.S.C. §
1983 on November 28, 2003, raising multiple issues arising from his
confinement at the Jail. The complaint was dismissed without
prejudice, pursuant to 42 U.S.C. § 1997e(a), and judgment was
entered on October 6, 2004, because the plaintiff had not satisfied
his burden of demonstrating that he had exhausted his
administrative remedies.

On January 18, 2005, plaintiff submitted motions for
appointment of counsel and reconsideration of the dismissal order.
The motion for reconsideration included attached copies of two
grievances purportedly filed on January l, 2003, and October 8,

2003. Plaintiff alleged in the original complaint that he filed

Thls document entered on the docket heat In comp||ance
with nule 58 andlor 79(3) FRCP on g 33 'OQ

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“grievances” and also presented his issues “verbally” and
“personally” to Jail authorities. He also alleged that the
grievance procedure was futile due to a corrupt officer who
retaliated for grievances. Plaintiff alleges in the motion for
reconsideration that he “wasn't able to obtain the appropriate
assistance in exhausting the remedies.” The attached grievances do
not indicate that plaintiff appealed the denial of those grievances
and are insufficient to demonstrate that Morris completely
exhausted his administrative remedies before filing this complaint.
The Court’s order of dismissal advised plaintiff of his
affirmative burden to:
plead his claims with specificity and show that they have
been exhausted by attaching a copy of the applicable
administrative dispositions to the complaint or, in the
absence of written documentation, describe with
specificity the administrative proceeding and its
outcome.
Knuckles El v. Toombs, 215 F.3d 640, 642 (Gth Cir.), cert. denied,
121 S. Ct. 634 (2000); see also Baxter v. Rose, 305 F.3d 486, 489
(6th Cir. 2002)(prisoner who fails to adequately allege exhaustion
may not amend his complaint to avoid a sua sponte dismissal);
Curry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001}(no abuse of
discretion for district court to dismiss for failure to exhaust
when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion).
Accordingly, Morris may not amend his complaint to cure a failure

to plead exhaustion, even if he now obtains copies of grievances

demonstrating exhaustion. Baxter v. Rose, 305 F.3d 486r 488~89

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{6th Cir. 2002). As the Sixth Circuit explained, “The bar on
amendment similarly serves the purpose of the heightened pleading
reguirement, permitting courts to assess the fundamental viability
of the claim on the basis of the initial complaint.” In any event,
the new submissions do not demonstrate exhaustion.

Thusr plaintiff's motion for reconsideration alleges no facts
or law justifying reconsideration of the Court’s order of
dismissal. Accordingly, plaintiff's motion for reconsideration is
DENIED. Furthermore, no appointment of counsel is warranted
because plaintiff’s complaint has been dismissed. The motion for
appointment of counsel is DENIED.

The Court repeats its previous certification, pursuant to 28
U.S.C. § 1915(a)(3), that any appeal in this matter by plaintiff is

not taken in good faith and plaintiff may not proceed on appeal in

forma pauperis.

IT IS SO ORDERED this £7 day(7 of Augu 2005.

 

JO PHIPPS MCCALLA
U TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:03-CV-02929 Was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

J ames L. Morris
4052 Mossville St.
i\/lemphis7 TN 38109

Honorable Jon McCalla
US DISTRICT COURT

